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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

       v.                                                  No. 19 Cr. 725 (JPO)

DAVID CORREIA,

                               Defendant.



                      MOTION TO WITHDRAW AS COUNSEL FOR
                           DEFENDANT DAVID CORREIA

       PLEASE TAKE NOTICE that, upon this Notice of Motion to Withdraw, William J.

Harrington and Jeff Marcus, retained counsel for David Correia, move this Court before the

Honorable J. Paul Oetken at the United States District Courthouse, 40 Foley Square, New York,

New York 10007, at such a date and time as the Court may direct, for an Order granting

counsels’ request to withdraw from the case. The basis for the request is set forth in the attached

declarations as required by Local Civil Rule 1.4 and Local Criminal Rule 1.1. Counsel further

request that this motion be accepted ex parte and filed under seal.


Dated: September 21, 2020                          Respectfully submitted,
       New York, NY

                                                   By: /s/ William J. Harrington
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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                          No. 19 Cr. 725 (JPO)
     v.
                                                  TO BE FILED UNDER SEAL
DAVID CORREIA,
                                                  EX PARTE SUBMISSION
                             Defendant.


               DECLARATION OF WILLIAM J. HARRINGTON, ESQ.
            IN SUPPORT OF A MOTION TO WITHDRAW AS COUNSEL

     I, William J. Harrington, Esq., declare under penalty of perjury as follows:

  1. I am counsel of record for David Correia in this matter.

  2. I submit this declaration in connection with my application to withdraw as Mr. Corriea’s
     counsel. In compliance with Local Civil Rule 1.4 and Local Criminal Rule 1.1, I address
     the reason for my request, the case calendar in the matter, and the status of any lien.

  3. I am moving to withdraw because Mr. Correia has not paid me for any of the legal work I
     have performed for him. Mr. Correia retained me around the time of his arrest. Since that
     time, Mr. Correia and I have discussed fees on many occasions and he has expressed
     confidence that he would soon be in a position to pay for his legal representation. As
     recently as September 19, 2020, Mr. Correia said that he hoped he could soon pay his
     fees. But he has not been able to do so. Based on my conversations with Mr. Correia, and
     his continued inability to raise funds, I believe that his finances will qualify him for
     appointed counsel.

  4. Until last week, an important factor in my decision to give Mr. Correia more time to pay
     was the very limited scope of the prior charge against him. It alleged his participation in a
     single conspiracy that primarily involved a Cannabis business and a small number of Fall
     2018 political contributions in Nevada.

  5. The charges against Mr. Correia changed dramatically this past Thursday, September 17,
     2020, when the Government filed a superseding indictment (the “S1 Indictment”) that
     vastly expands the scope and complexity of charges against Mr. Correia.

  6. Count Seven of the S1 Indictment newly alleges that Mr. Correia engaged in a securities
     fraud scheme involving an insurance-product company, claiming that 7 victims were
     defrauded in excess of one million dollars over almost 7 years based on false statements
     about the finances of that company.
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Ex Parte Submission

Declaration of William J. Harrington, Esq.
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   7. Counts Two and Three of the S l Indictment further add charges that Mr. Correia made
      false statements and submitted falsified records to the FEC related to whether a different
      entity - a liquified natural gas company - was a bona fide business enterprise.

   8. Given the breadth of the new allegations, this is now a much more extensive case than the
      one I had been retained to defend.

   9. Regarding the case calendar, prior to the S l Indictment, the Court set a case schedule.
      Last week, the parties began discussing the need to request that the Court adjust that case
      schedule in light of the new charges, ongoing discovery, and the COVID pandemic.

           a. Discovery. The Government has made voluminous productions, but they are
              nonetheless ongoing. In a teleconference on Friday, the Government indicated
              that it had a "fair bit" of additional discovery to make, including a "sizeable email
              production" that it anticipated making in l Odays.

           b. Motions. The Court had previously set a pretrial motions deadline of October 5,
              2020. The parties are discussing the motion schedule in light of the SI Indictment,
              and I anticipate a request to adjourn those dates.

           c. Trial. A trial date was also set for February I, 2021. Though still almost five
              months away, there is a question as to whether this date will hold given current
              court procedures that severely limit jury trials in the district during the pandemic.

    10. I informed the Government that I intended to file this withdrawal motion and that non-
        payment is the basis of the motion. I have not otherwise provided them with the details in
        this declaration and I respectfully request that the Court accept it ex parte and under seal.

    11. My co-counsel, Jeff Marcus, and I spoke to Mr. Correia about this application after the
        filing of the SI Indictment. In substance, he said that he had hoped to be able to pay us
        and still hopes that he will be in a position to do so, but that he does not expect us to work
        for free.

   12. I state that I do not assert a retaining or charging lien.

   I hereby declare under penalty of perjury that the foregoing is true and correct.


Signed on September 21 , 2020




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